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                          IN THE UNITED STATES DISTRICT COURT
                          F'OR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION


 DANNY PRICE GARRETT,

             Plaintiff,

 v.
                                                     CIVIL ACTION NO. 2:17-cv-00059-J
 JAMES WALTER CAVE; and EAN
 HOLDINGS, LLC,

            Defendants.


                                    ORDER OF DISMISSAL

        Before the Court is the parties' Stipulation of Dismissal with Prejudice, filed on October

27,2017. This case is hereby DISMISSED WITH PREJUDICE, each party to bear its own costs

and attorneys' fees.

               IT IS SO ORDERED.

               Signed this   the 31st   day of October, 2017 .



                                                s/ tlarv Lorr Robinson
                                              MARY LOU ROBINSON
                                              SENIOR UNITED STATES DISTRICT JUDGE
